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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

KEVIN TORGERSON,

               Plaintiff,

v.                                                           1:21-cv-00204-DHU-LF

CHRISTOPHER STARR,

               Defendant.


                  DEFENDANT’S DISCLOSURE OF EXPERT WITNESS

       COMES NOW Defendant Starr, by and through his counsel of record Law Office of

Jonlyn M. Martinez, LLC, and hereby discloses the following expert witness who has been

retained or specially employed to provide expert testimony in this case:


       John (Jack) Ryan
       5235 Decatur Blvd
       Indianapolis, Indiana 46241
       (800) 365-0119

       Mr. Ryan’s written report containing a statement of his opinions and the basis and
       reasons thereof, as well as a list of the data or other information considered by him in
       forming such opinions is attached hereto as well as his Curriculum Vitae and his fee
       schedule.

The Defendants reserve the right to supplement this disclosure in accordance with the Federal

Rules of Civil Procedure and also to subsequently offer expert testimony from any witness

qualified as an expert at trial by knowledge, skill, experience or education or that may be

necessary for purposes of impeachment or rebuttal.
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                                                Respectfully Submitted:

                                                LAW OFFICE OF JONLYN M. MARTINEZ, LLC

                                                By: /s/ Jonlyn M. Martinez
                                                   JONLYN M. MARTINEZ
                                                   Attorney for County Defendants
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I hereby certify that a copy of the foregoing
was served via CM/ECF on
March 1, 2022 to all counsel of record:


/s/ Jonlyn M. Martinez




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